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Attorneys for Plaintiff
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,          )     CR. NO. 19-00046 LEK
                                   )
                 Plaintiff,        )     GOVERNMENT’S WITNESS LIST;
                                   )     CERTIFICATE OF SERVICE
     vs.                           )
                                   )     Bench Trial date: April 5, 2022
CHARLES KIMO BROWN,                )     Time: 9:00 a.m.
                                   )     Judge: Hon. Leslie E. Kobayashi
                 Defendant.        )
                                   )



                     GOVERNMENT'S WITNESS LIST
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      The Government hereby submits its witness list. The Government reserves

the right to amend the witness list as necessary.

      Dated: March 29, 2022, at Honolulu, Hawaii

                                       Respectfully submitted,

                                       CLARE E. CONNORS
                                       United States Attorney
                                       District of Hawaii


                                       By /s/ Marshall H. Silverberg
                                         MARSHALL H. SILVERBERG
                                         Assistant U.S. Attorney
                                         NICOLE K. HUDSPETH
                                         Special Assistant U.S. Attorney




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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES v. CHARLES KIMO BROWN                              WITNESS LIST
Cr. No. 19-00046 LEK


Presiding Judge            Plaintiff's Attorney            Defendant's Attorney
Leslie E. Kobayashi               Marshall Silverberg      William Harrison
                                  Nicole Hudspeth

Trial Date                      Court Reporter             Courtroom Deputy
April 5, 2022                                              Agalelei Elkington




                Witness            Date of Testimony             Type of witness

1    Guy Fujimura                                       Former (now retired) Secretary-
                                                        Treasurer and Custodian of Records
                                                        for ILWU Local 142
2    Matt Arakawa                                       Supervisor of the accounting office,
                                                        ILWU Local 142
3    Lynette Martin                                     Former Executive Secretary for the
                                                        Longshore Division
4    William Akamine                                    Custodian of Records,
                                                        Hawaii State Federal Credit Union
5    Drake Delaforce                                    Current Secretary-Treasurer of the
                                                        Longshore Division of Local 142
                                                        and the Custodian of its Records
6    Kim Hudson Chock                                   CFO for McCabe Hamilton &
                                                        Renny Co. and Custodian of some
                                                        of its Records
7    Kevin Cutter                                       Vice President for Operations,
                                                        McCabe Hamilton & Renny Co.
                                                        and Custodian of some of its
                                                        records
8    Pearl Moenahele                                    Supervisory Investigator, U.S.
                                                        Department of Labor
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                         CERTIFICATE OF SERVICE


            I hereby certify that, on the date and by the methods of service noted

below, a true and correct copy of the foregoing document was served electronically

through CM/ECF:

      William Harrison
      wharrison@hamlaw.net


      Attorney for Defendant
      CHARLES KIMO BROWN

            DATED: March 29, 2002, Honolulu, Hawaii.

                                            /s/ Shauntè A. Pompey

                                            U.S. Attorney’s Office
                                            District of Hawaii
